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        COME NOW, John Williams, Ellen B. Williams and Belleview Valley Land Co., Inc. (collectively,

"Defendants'?, and file this Response to the Court's Opinion and Orders setting deadlines entered on March 5,

2021 to respond to this Court's proposal to grant summary judgment under Fed. R. Civ. P. 56{F} to Plaintiffs

Brian Van Winkle ("Brian") and Tammy Sprague ("Sprague") (collectively, "Plaintiffs") and show:

                                           I.      SUMMARY OF RESPONSE

        Bankruptcy courts may enforce the discharge injunction in § 524{a)(2}. In re Paul, 534 F.3d 1303,

1306-07 {10th Cir. 2008). "But that equitable power cannot be exercised contrary to or in excess of the terms

of the substantive Code provision being enforced." Id. 'Thus, a bankruptcy court may sanction a party for

violating the discharge injunction only if the party took some action . .. "to collect, recover or offset any

[discharged] debt as a personal liability of the debtor." Id. The concept of a "fresh start" is not immunity:

        This may seem an obvious point when stated in the abstract, yet it can easily be overlooked in the
        course of a bankruptcy court's practical effort to support a debtor's fresh start following discharge. A
        host of circumstances can affect a former debtor's financial comeback. But the concept of "fresh start''
        is just a general gloss on the purpose of§ 524(a}; it is not a license for courts to go beyond the
        particular prohibitions specified in the statute to shield debtors from adverse contingencies.
        However well-intentioned the effort in trying to facilitate a debtor's fresh start, a bankruptcy court may
        not enjoin and sanction a creditor with respect to conduct that does not violate§ 524{a). Id. at 1307.

        This Court closed this case on June 18, 2019. Thereafter, Brian requested a stay for the Estate of

Fred Van Winkle (the "Estate"). (Ex. 35). Brian's Motion states, "Judge Counts has just recently allowed a

Discharged debt set forth by this Bankruptcy court to be allowed in state court, in doing so, the state court has

upset the balance provided by this court .... " This has also put Redemption funds deposited with the state

court at risk." (Id., p. 3). This Court denied those Motions, holding it was "powerless to grant relief." (Ex. 36,

Doc. No. 85).    This Court ruled it was bound by the Bankruptcy Appellate Panel ("BAPj decision and the

state court was "doing no more than what it is bound to do." (Id.}. Defendants relied on that opinion.

        The BAP ruled the redemption right was not an estate asset and the Defendants, in trying to enforce

the Deficiency Judgment did not seek a debt as a personal liability of the debtor." In re Van Winkle, 583 B.R.

759, 770. That decision involved the same series of transactions as this case and is res judicata.


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                                             CERTIFICATE OF SERVICE
       I, W.T. Martin, Jr., certify that on March 26, 2021, I served copies of the foregoing pleading on
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